        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 1 of 64




                               UNITED STATES DISTRICT
                              COURT FOR THE DISTRICT OF
                                     COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :       CASE NO. 21-cr-208 (APM)
             v.                                 :
                                                :
THOMAS WEBSTER,                                      :
                                                :
                     Defendant.                 :

                                      JOINT PRETRIAL
                                        STATEMENT

       Pursuant to the Court’s Third Amended Pretrial Order, filed April 1, 2022 (ECF No. 69),

the parties hereby jointly submit this pretrial statement.

I.     Joint Statement of the Case

       The government has charged the defendant, Mr. Thomas Webster, with seven

crimes relating to Congress’s meeting at the United States Capitol on January 6, 2021, to

certify the Electoral College vote for president.

       First, he is charged with assaulting, resisting, or impeding Officer N   R         , an

officer of the Metropolitan Police Department of the District of Columbia, including while

using a dangerous weapon, that is, a metal flagpole. Second, he is charged with obstructing,

impeding, or interfering with law enforcement officers during the commission of a civil

disorder. Third, he is charged with being unlawfully present on restricted Capitol grounds,

including with a dangerous weapon. Fourth, he is charged with engaging in disorderly and

disruptive conduct on restricted Capitol grounds, including with a dangerous weapon. Fifth,

he is charged with engaging in physical violence on restricted Capitol grounds, including with

a dangerous weapon. Sixth, he is charged with engaging in disorderly conduct within the




                                                 1
           Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 2 of 64




Capitol grounds. And seventh, he is charged with committing an act of physical violence

within the Capitol grounds.

           Mr. Webster has pleaded not guilty to all charges.

II.        Proposed Voir Dire Questions

           A.     Joint Proposed Voir Dire Questions

      1.   [Read statement of the case.] Do you know or have you heard anything about

           this particular case or Mr. Webster?

      2.   The government in this case is represented by Assistant United States Attorneys

           Hava Mirell and Brian Kelly, and Department of Justice Trial Attorney

           Katherine Nielsen. Also sitting with the government are FBI Special Agent

           Riley Palmertree and paralegal Kyle Clements. The defendant, Thomas

           Webster, is represented by James Monroe. Do you know any of these people?

      3.   During the course of the trial, you may hear testimony from or about a number of

           people. The attorneys will now identify for you the names of people who may testify or

           about whom you may hear testimony. [Each side will introduce its witnesses by name

           and employment.] Do you know any of the people who have been introduced to you?

      4.   Do you know or recognize any of the other potential jurors in the panel, the

           courtroom staff, or me?

      5.   Do any of you live or work at or near the U.S. Capitol?

      6.   Do you or someone you know have a direct or indirect connection to the events

           that occurred at the U.S. Capitol on January 6, 2021, including but not limited to

           having participated in or personally witnessed those events?




                                                   2
     Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 3 of 64




7.   Have you closely or regularly followed the news about the events that took place at the

     U.S. Capitol on January 6, 2021, or the government’s investigation of those events? If

     yes, from what sources—for example, what news programs, websites, or social media

     platforms—do you typically get that news?

8.   Have you ever watched video of what happened at the U.S. Capitol on January 6,

     2021 on the news or on the Internet? If yes, how many times have you seen videos

     of that event, in whole or in part, on TV or on the internet? (1 time, 2-3 times, 4-5

     times, 6 or more times).

9.   Have you ever watched video of this defendant from January 6, 2021 on the news or

     on the Internet? If yes, how many times have you seen videos of the defendant, in whole

     or in part, on TV or on the internet? (1 time, 2-3 times, 4-5 times, 6 or more times)

10. No matter what you have heard or seen about events at the U.S. Capitol on January 6,

     2021, and no matter what opinions you may have formed, can you put all of that aside

     and decide this case only on the evidence you receive in court, follow the law, and

     decide the case in a fair and impartial manner?

11. Does anyone have such strong feelings or opinions about the events that took place at

     the U.S. Capitol on January 6, 2021, that it would make it difficult for you to serve as a

     fair and impartial juror in this case?

12. The testimony of a police officer should be treated the same as the testimony of any

     other witness, and the jury should not give either greater or lesser weight to the

     testimony of a witness simply because that witness is or was a police officer. Does

     anyone have such strong feelings or opinions about the police—either positive or




                                              3
    Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 4 of 64




    negative—that would make it difficult for you to treat the testimony of current or

    former police officers the same as for any other witness?

13. The next four questions relate to you, members of your immediate family, and

    close personal friends:

        a. Does anyone in this group now work for, or previously worked for, any law

           enforcement agency? This includes any police department in or outside the

           District, including the Metropolitan Police Department and New York City

           Police Department, and it includes special police officers, as well as

           prosecutors’ offices, such as the U.S. Attorney’s Office, or a State Attorney’s

           Office. It also includes federal law enforcement agencies like the Department

           of Justice, the FBI, the Secret Service, the Department of Homeland Security,

           the U.S. Capitol Police, and the U.S. Park Police. And it includes any local

           police or sheriffs’ departments.

        b. Has any member of that group ever served in the Armed Forces?

        c. Has any member of that group ever attended law school, worked as a lawyer,

           or worked in a law office?

       d. Has any member of that group ever been arrested for, charged with, or convicted

           of a crime or been a victim of or witness to a crime? If so, did you feel that you,

           or your family member or close friend, were treated fairly?

14. Have you, any member of your family, or close friend had any experiences with any

    law enforcement agency or the government that might cause you to favor or disfavor

    the government or law enforcement?




                                              4
     Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 5 of 64




15. Under certain circumstances, the government can obtain authorization from a judge to

    search a premises or electronic media to obtain evidence including, but not limited to,

    emails, text messages, video recordings, letters, financial information and other

    materials or information. The Judge will instruct you that any evidence that is

    presented to you at trial was obtained legally and you can consider it. Is there any

    reason why you could not follow this instruction?

16. The government bears the burden of proving Mr. Webster guilty beyond a

    reasonable doubt, and he is presumed innocent unless and until the government

    meets that burden. This burden of proof never shifts to Mr. Webster, and he has no

    obligation to offer his own evidence. Would you have any difficulty with respecting

    this allocation of the burden of proof?

17. A defendant has a constitutional right not to testify, and if Mr. Webster decides not to

    testify, I will instruct you that you cannot hold his silence against him. Would you

    have any difficulty following that instruction?

18. Jurors are the sole judges of the facts, but they must follow the principles of law as I

    instruct. The jury may not follow some rules of law and ignore others. And even if the

    jury disagrees or dislikes a rule of law, or does not understand the reasons for some of

    the rules, it is the jury’s duty to follow them. Is there any reason you would find it

    difficult to follow my legal instructions, whatever they may be?

19. To reach a verdict on a particular charge, every juror must agree on the verdict. That

    is, any verdict must be unanimous. In deliberations you must consider the opinions

    and points of your fellow jurors, but you must also follow your own conscience and




                                              5
     Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 6 of 64




    be personally satisfied with any verdict. Would you have difficulty expressing your

    own opinions and thoughts about this case to your fellow jurors?

20. If you are selected as a juror in this case, I will instruct you to avoid all media coverage

    relating to this case, including radio, television, podcasts, social media, and other

    Internet sources. That is, you will be forbidden from reading any newspaper articles

    about this case, listening to any radio or podcast stories about this case, or watching

    any TV news about this case. You will also be forbidden from Googling this case, or

    blogging, tweeting, reading, or posting comments about this case on social media sites

    or anywhere else on the Internet. Do you have any reservations or concerns about your

    ability or willingness to follow this instruction?

21. Today is Monday, April 25. The parties expect the presentation of evidence in this

    case to conclude either at the end of this week or early next week. You will begin

    deliberating after the close of evidence. Once you begin deliberating, I do not know

    how long your deliberations will last. The jury will sit [Monday] through [Friday],

    generally from [9:30] am to [4:30] pm. Knowing this schedule, do you have any urgent

    or extremely important matter to attend to this week or next, such that serving as a

    juror in this case would be an extreme hardship for you?

22. Do you have any religious, moral, or philosophical reason, or personal or political

    beliefs, or is there any other reason not already mentioned, that you believe would

    make it hard for you to be a fair and impartial juror in this case, or to sit in judgment of

    another person?




                                             6
     Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 7 of 64




     B.      Defendant’s Additional Proposed Voir Dire Questions

1.   Have you or any member of your family, or close friend ever participated in a

     public protest or demonstration?

          a. The government objects to this proposed question. The government

             does not believe the events of January 6 should be characterized as a

             “public protest” or “demonstration.” Moreover, whether a prospective

             juror has ever protested or demonstrated is irrelevant to this case, and

             does not go to potential bias. The government also believes that any

             potential bias related to this question is adequately addressed through

             joint proposed question 22, above.

2.   Have you or any member of your family, or close friend ever been involved in a

     physical altercation with a member of law enforcement?

          a. The government objects to this proposed question. Any potential bias

             related to this question is better addressed through joint proposed

             questions 12 and 14, above.

3.   Have you or any member of your family, or close friend ever been required to

     defend yourself from an attack initiated by another individual?

          a. The government objects to this proposed question for the same reasons

             as stated in its above objection to the defendant’s proposed question

             number 2.

4.   Do you believe that you and/or the residents of the City of Washington D.C. were

     victims of the events which transpired at the U.S. Capitol on January 6, 2021?




                                            7
     Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 8 of 64




          a. The government does not object to this proposed question, but believes that

             any potential bias related to this question is already adequately addressed

             through joint proposed questions 10, 11, and 22, above. If the Court asks

             this question, the government also proposes that the following language be

             included in between “were” and “victims”: “personally.”

5.   Do you believe that all individuals present at the U.S. Capitol on January 6, 2021

     are guilty of committing a crime?

          a. The government does not object to this proposed question, but believes that

             any potential bias related to this question is already adequately addressed

             through joint proposed questions 10, 11, 16, and 22, above. If the Court

             asks this question, the government also proposes that the following

             language be included at the end: “, regardless of their own personal

             actions that day?”

6.   Would your opinion concerning former President Donald Trump or his supporters

     make it difficult for you to serve as a fair and impartial Juror in this case?

          a. The government objects to this proposed question. The government

             believes that any potential bias related to this question is better addressed

             through joint proposed questions 10, 11, and 22, above.

7.   Do you belong to any Societies, Unions, Professional Associations, Political Action

     Organizations, Civic Clubs, Fraternities, Sororities, or other similar organizations?

          a. The government does not object to this proposed question.

     C.      Joint Proposed Background Questions

          a. How long have you lived in the District of Columbia?



                                              8
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 9 of 64




  b. What is the highest level of school you completed?

  c. What is your marital status?

  d. Do you have children or step-children? If so, how many, and what are their

       ages?

  e. What is your current occupation?

           i. How long have you been at this job?

           ii. What is your current role at work?

          iii. Does your role include supervisory duties?

  f. What is your spouse’s occupation?

  g. Are you able to read, speak, and understand the English language?

  h. Do you have any trouble seeing or hearing?

  i.   Do you have trouble paying attention for long periods of time?

  j.   Do you take medication that makes it difficult for you to sit and focus for

       long periods of time?

  k. Do you have any medical condition that would make it difficult for you to

       serve as a juror in this case?

  l.   Does jury service raise COVID-19 safety concerns for you?

  m. Do you hold religious beliefs that prevent you from passing judgment on others?

  n. Have you had an experience as a juror that would affect your ability to be a

       fair and impartial juror in this trial?

           i. When you served as a juror in a prior case, was it a criminal case or a

               civil case?

          ii. Did you reach a verdict?



                                          9
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 10 of 64




           iii. Was there anything about your experience as a juror which would

                make you not want to serve again?

   o. Have you been a party to a lawsuit or a witness who testified in court? If so:

            i. What was the nature of the lawsuit?

           ii. What was your role in the case?

           iii. What was the result?

   p. What social media platforms do you use, how often do you use them, and what

        do you use them for?

   q. How do you get your news? Please circle all that apply, and provide the

        specific news source you use.

            i. Newspapers

           ii. TV

           iii. Radio

           iv. Social media

            v. Podcasts

   r. Do you use social media? If yes, what platform(s) do you use, and what do

        you use them for?

   s.   Have you ever filed a lawsuit, or had a lawsuit of any kind filed against you,

        by anyone in court?

        If the answer is yes, please indicate who brought the lawsuit, what it was about,

        and the result of the lawsuit.

   t. Do you watch courtroom, law-related, or crime-related TV shows? If yes, what

        do you watch?



                                         10
       Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 11 of 64




          u. Do you have any opinions concerning the following which would affect

              your ability to be a fair and impartial juror?

                    i. Criminal prosecutors (Yes/No)

                   ii. Criminal defense attorneys (Yes/No)

                   iii. Police officers (Yes/No)

                   iv. FBI agents (Yes/No)

                   v. The “federal government” in general (Yes/No)

              If you answered “yes” to the questions above, please describe your opinions and

              explain why they would interfere with your ability to be a fair and impartial

              juror.

III.   Joint Proposed Jury Instructions

       Attached.

IV.    Lists of Witnesses

       Government’s List of Expected Witnesses attached.

       Defendant’s Witness List attached.

V.     Exhibit Lists

       List of Government Exhibits attached.

       Defendant’s Exhibit List attached.

VI.    Stipulations

       Stipulations 701 and 705-708 attached.




                                               11
       Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 12 of 64




VII.    Proposed Verdict Form

        Attached.

                                    Respectfully submitted,

       For the Government:                            For the Defendant:

       MATTHEW M. GRAVES                                    /s/
       United States Attorney                         James E. Monroe
       D.C. Bar No. 481052                            DUPEE & MONROE, P.C.
                                                      211 Main Street
 By:           /s/ Hava Mirell                        PO Box 470
       HAVA MIRELL                                    Goshen, NY 10924
       Assistant United States Attorney, Detailee     845-294-8900
       United States Attorney’s Office                marina@dupeemonroelaw.com
       District of Columbia
       CA Bar No. 311098
       555 4th Street, N.W.
       Washington, D.C. 20530
       (213) 894-0717
       Hava.Mirell@usdoj.gov

            /s/ Katherine Nielsen
       KATHERINE NIELSEN
       Trial Attorney, Detailee
       United States Attorney’s Office
       District of Columbia
       D.C. Bar No. 491879
       555 4th Street, N.W.
       Washington, D.C. 20530
       (202) 355-5736
       Katherine.Nielsen@usdoj.gov

       _____/s/ Brian P. Kelly
       BRIAN P. KELLY
       Assistant United States Attorney
       United States Attorney’s Office
       District of Columbia
       D.C. Bar No. 983689
       555 4th Street, N.W.
       Washington, D.C. 20530
       (202) 252-7503
       Brian.Kelly3@usdoj.gov




                                              12
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 13 of 64




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :       Case No. 21-cr-208 (APM)
                                               :
               v.                              :
                                               :
THOMAS WEBSTER,                                :
                                               :
                       Defendant.              :


                         JOINT PROPOSED JURY INSTRUCTIONS

       Pursuant to the Court’s April 1, 2022 Third Amended Pretrial Order, the parties hereby

propose the following jury instructions, subject to issues that arise during trial.

       The parties have no objection to the Pattern Criminal Jury Instructions for the District of

Columbia, 2021 Release (“Redbook”), as appropriate based on the developments at trial.

       A. Jointly Proposed Instructions

               1.      Definitions: Stipulation of Fact, Redbook 1.103(A)

               2.      Furnishing the Jury with a Copy of the Instructions, Redbook 2.100

               3.      Function of the Court, Redbook 2.101

               4.      Function of the Jury, Redbook 2.102

               5.      Jury’s Recollection Controls, Redbook 2.103

               6.      Evidence in the Case, Redbook 2.104

               7.      Statements of Counsel, Redbook 2.105

               8.      Indictment Not Evidence, Redbook 2.106

               9.      Burden of Proof, Redbook 2.107

               10.     Reasonable Doubt, Redbook 2.108

               11.     Direct and Circumstantial Evidence, Redbook 2.109



                                                   1
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 14 of 64




     12.   Nature of Charges Not to Be Considered, Redbook 2.110

     13.   Number of Witnesses, Redbook 2.111

     14.   Inadmissible and Stricken Evidence, Redbook 2.112

     15.   Credibility of Witnesses, Redbook 2.200

     16.   Police Officer’s Testimony, Redbook 2.207

     17.   Transcripts of Tape Recordings, Redbook 2.310

     18.   Proof of State of Mind, Redbook 3.101

     19.   Aiding and Abetting, Redbook 3.200

     20.   Multiple Counts – One Defendant, Redbook 2.402

     21.   Count One: Assaulting, Resisting, or Impeding Certain Officers Using a
           Deadly or Dangerous Weapon, 18 U.S.C. § 111(a)(1), (b) [see proposal
           below]

     22.   Count Two: Obstructing Officers During a Civil Disorder, 18 U.S.C.
           § 231(a)(3) [see proposal below]

     23.   Count Three: Entering or Remaining in a Restricted Building or Grounds
           with a Deadly or Dangerous Weapon, 18 U.S.C. § 1752(a)(1) and
           (b)(1)(A) [see proposal below]

     24.   Count Four: Disorderly or Disruptive Conduct in a Restricted Building or
           Grounds with a Deadly or Dangerous Weapon, 18 U.S.C. § 1752(a)(2) and
           (b)(1)(A) [see proposal below]

     25.   Count Five: Engaging in Physical Violence in a Restricted Building or
           Grounds with a Deadly or Dangerous Weapon, 18 U.S.C. § 1752(a)(4) and
           (b)(1)(A) [see proposal below]

     26.   Count Six: Disorderly Conduct in a Capitol Building or Grounds, 40
           U.S.C. § 5104(e)(2)(D) [see proposal below]

     27.   Count Seven: Engaging in an Act of Physical Violence in the Capitol
           Grounds or Capitol Buildings, 40 U.S.C. § 5104(e)(2)(F) [see proposal
           below]

     28.   Where Jury is to be Charged on a Lesser Included Offense of a Count in
           an Indictment, Redbook 2.401



                                   2
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 15 of 64




       29.    Unanimity—General, Redbook 2.405

       30.    Verdict Form Explanation, Redbook 2.407

       31.    Redacted Exhibits, Redbook 2.500

       32.    Exhibits During Deliberations, Redbook 2.501

       33.    Selection of Foreperson, Redbook 2.502

       34.    Possible Punishment Not Relevant, Redbook 2.505

       35.    Cautionary Instruction on Publicity, Communication, and Research,
              Redbook 2.508

       36.    Communication Between Court and Jury During Jury’s Deliberations,
              Redbook 2.509

       37.    Attitude and Conduct of Jurors in Deliberations, Redbook 2.510

       38.    Excusing Alternate Jurors, Redbook 2.511

B. Jointly Proposed Instructions to be Used as Applicable or if Court Instructs on
   Self-Defense

       39.    Right of Defendant Not to Testify, Redbook 2.208 or Defendant as
              Witness, Redbook 2.209

       40.    Character of Defendant, Redbook 2.213

       41.    Evaluation of Prior Inconsistent Statement of a Witness, Redbook 2.216

       42.    Evaluation of Prior Consistent Statement of a Witness, Redbook 2.217

       43.    Statements of the Defendant – Substantive Evidence, Redbook 2.305

       44.    Self-Defense – General Considerations, Redbook 9.500

       45.    Self-Defense – Amount of Force Permissible, Redbook 9.501

       46.    Self-Defense – Amount of Force Permissible Where Appearances are

              False, Redbook 9.502(A)

       47.    Self-Defense – Where Defendant Might Have Been the Aggressor,

              Redbook 9.504(A)

                                        3
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 16 of 64




C. Disputed Instructions

      48.    Defendant’s Proposed Instruction – First Amendment [see proposal

             below]

      49.    Defendant’s Proposed Instruction – Use of Force [see proposal below]

      50.    Defendant’s Theory of the Case, Redbook 9.100 [see proposal below]




                                     4
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 17 of 64




                                     Proposed Instruction No. 21
  COUNT ONE: ASSAULTING, RESISTING, OR IMPEDING CERTAIN OFFICERS
              USING A DEADLY OR DANGEROUS WEAPON
                                       18 U.S.C. § 111(a)(1), (b)

       Count One of the Indictment charges the defendant with forcibly assaulting, resisting,

opposing, impeding, intimidating, or interfering with an officer and employee of the United States,

and any person assisting such an officer and employee, while the officer is engaged in the

performance of his official duties, while using a deadly or dangerous weapon, which is a violation

of federal law.

                                               Elements

       In order to find the defendant guilty of this offense, you must find the following elements

beyond a reasonable doubt:

           1. First, the defendant assaulted, resisted, opposed, impeded, intimidated, or interfered

                  with Officer N.R., an officer from the Metropolitan Police Department.

           2. Second, the defendant did such acts forcibly.

           3. Third, the defendant did such acts intentionally.

           4. Fourth, the person assaulted, resisted, opposed, impeded, intimidated, or interfered

                  with was an officer or an employee of the United States who was then engaged in

                  the performance of his official duties, or any person assisting such an officer or

                  employee in the performance of that officer’s duties.

           5. Fifth, the defendant made physical contact with the officer or employee of the

                  United States who was then engaged in the performance of his official duties, or

                  any person assisting such an officer or employee in the performance of that officer’s

                  duties, or acted with the intent to commit another felony.


                                                    5
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 18 of 64




            6. Sixth, in doing such acts, the defendant used a deadly or dangerous weapon.

                                              Definitions

        The defendant acted “forcibly” if he used force, attempted to use force, or threatened to

use force against the officer. A threat to use force at some unspecified time in the future is not

sufficient to establish that the defendant acted forcibly. 1

        The term “assault” means any intentional attempt or threat to inflict injury upon someone

else, when coupled with an apparent present ability to do so. A finding that one used force (or

attempted or threatened to use it) isn’t the same as a finding that he attempted or threatened to

inflict injury. In order to find that the defendant committed an “assault,” you must find beyond a

reasonable doubt that the defendant acted forcibly and that the defendant intended to inflict or

intended to threaten injury. 2

        The terms “resist,” “oppose,” “impede,” “intimidate,” and “interfere with” carry their

everyday, ordinary meanings.

        You are instructed that Officer N.R. is an officer of the Metropolitan Police Department

and that it was a part of the official duty of such officer to assist federal officers in protecting the

U.S. Capitol complex on January 6, 2021 and detaining individuals who lacked authorization to

enter the restricted area around the complex. It is not necessary to show that the defendant knew

the person being forcibly assaulted, resisted, opposed, impeded, intimidated, or interfered with

was, at that time, assisting federal officers in carrying out an official duty so long as it is

established beyond a reasonable doubt that the victim was, in fact, assisting a federal officer

acting in the course of his duty and that the defendant intentionally forcibly assaulted, resisted,




1
        Tenth Circuit Pattern Criminal Jury Instructions (2021), § 2.09.
2
        Id.
                                                   6
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 19 of 64




opposed, impeded, intimidated, or interfered with that officer. 3

        An object is a deadly or dangerous weapon if it is designed to be used, actually used,

capable of being used, or threatened to be used in a manner likely to produce death or serious

bodily harm. 4

        For such a weapon to have been “used,” the government must prove that the defendant

not only possessed the weapon, but that the defendant intentionally displayed it in some manner

while forcibly assaulting, resisting, opposing, impeding, intimidating or interfering with the

federal officer. 5




3
       United States v. Feola, 420 U.S. 671, 684 (1975).
4
       Assault With a Dangerous Weapon (definition of dangerous weapon), Redbook 4.101
(modified); United States v. Arrington, 309 F.3d 40, 45 (D.C. Cir. 2002).
5
       Tenth Circuit Pattern Criminal Jury Instructions (2021), § 2.09; United States v.
Arrington, 309 F.3d 40, 45 (D.C. Cir. 2002).
                                                 7
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 20 of 64




                                    Proposed Instruction No. 22
       COUNT TWO: OBSTRUCTING OFFICERS DURING A CIVIL DISORDER
                                        18 U.S.C. § 231(a)(3)

        Count Two of the Indictment charges the defendant with committing or attempting to

commit an act to obstruct, impede, or interfere with law enforcement officers lawfully carrying

out their official duties incident to a civil disorder, which is a violation of federal law.

                                               Elements

        In order to find the defendant guilty of this offense, you must find the following elements

beyond a reasonable doubt:

            1. First, the defendant knowingly committed an act or attempted to commit an act with

                the intended purpose of obstructing, impeding, or interfering with one or more law

                enforcement officers.

            2. Second, at the time of the defendant’s actual or attempted act, the law enforcement

                officer or officers were engaged in the lawful performance of their official duties

                incident to and during a civil disorder.

            3. Third, the civil disorder in any way or degree obstructed, delayed, or adversely

                affected either commerce or the movement of any article or commodity in

                commerce or the conduct or performance of any federally protected function.

                                              Definitions

        A person acts “knowingly” if he realizes what he is doing and is aware of the nature of

his conduct, and does not act through ignorance, mistake, or accident. In deciding whether the




                                                   8
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 21 of 64




defendant acted knowingly, you may consider all of the evidence, including what the defendant

did or said. 6

        The term “civil disorder” means any public disturbance involving acts of violence by

groups of three or more persons, which (a) causes an immediate danger of injury to another

individual, (b) causes an immediate danger of damage to another individual’s property, (c)

results in injury to another individual, or (d) results in damage to another individual’s property. 7

        The term “commerce” means commerce or travel between one state, including the

District of Columbia, and any other state, including the District of Columbia. It also means

commerce wholly within the District of Columbia. 8

        The term “federally protected function” means any function, operation, or action carried

out, under the laws of the United States, by any department, agency, or instrumentality of the

United States or by an officer or employee thereof. 9

        The term “department” includes executive departments. 10 The Department of Homeland

Security, which includes the United States Secret Service, is an executive department. 11

        The term “agency” includes any department, independent establishment, commission,

administration, authority, board, or bureau of the United States. 12




6
       See Seventh Circuit Pattern Criminal Jury Instructions; see also Arthur Andersen LLP v.
United States, 544 U.S. 696, 705 (2005).
7
       18 U.S.C. § 232(1).
8
       Modified definition of 18 U.S.C. § 232(2) from jury instructions in United States v. Pugh,
20-cr-73 (S.D. Ala. May 19, 2021).
9
       18 U.S.C. § 232(3).
10
       18 U.S.C. § 6.
11
       5 U.S.C. § 101.
12
       18 U.S.C. § 6.
                                                  9
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 22 of 64




        The term “law enforcement officer” means any officer or employee of the United States

or the District of Columbia while engaged in the enforcement or prosecution of any criminal

laws of the United States or the District of Columbia. 13

        For the U.S. Capitol Police and Metropolitan Police Department on January 6, 2021, the

term “official duties,” means policing the U.S. Capitol Building and Grounds, and enforcing

federal law and D.C. law in those areas.

                                                Attempt

        In Count Two, the defendant is charged with attempt to commit the crime of obstructing

officers during a civil disorder. An attempt to obstruct officers during a civil disorder is a federal

crime even if the defendant did not actually complete the crime of obstructing officers during a

civil disorder.

        In order to find the defendant guilty of attempt to commit the crime of obstructing officers

during a civil disorder, you must find that the government proved beyond a reasonable doubt each

of the following elements:

            1. First, that the defendant intended to commit the crime of obstructing officers during

                  a civil disorder, as I have defined that offense above.

            2. Second, that the defendant took a substantial step toward committing obstructing

                  officers during a civil disorder, which strongly corroborates or confirms that the

                  defendant intended to commit that crime.

        With respect to the first element of attempt, you may not find the defendant guilty of

attempt to commit obstructing officers during a civil disorder merely because he thought about it.

You must find that the evidence proved beyond a reasonable doubt that the defendant’s mental



13
        18 U.S.C. § 232(7).
                                                   10
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 23 of 64




state passed beyond the stage of thinking about the crime to actually intending to commit it.

        With respect to the substantial step element, you may not find the defendant guilty of

attempt to commit obstructing officers during a civil disorder merely because he made some

plans to or some preparation for committing that crime. Instead, you must find that the

defendant took some firm, clear, undeniable action to accomplish his intent to commit

obstruction of an official proceeding. However, the substantial step element does not require the

government to prove that the defendant did everything except the last act necessary to complete

the crime. 14




14
        Seventh Circuit Pattern Criminal Jury Instructions; Third Circuit Pattern Jury Instructions
7.01.
                                                11
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 24 of 64




                                   Proposed Instruction No. 23
     COUNT THREE: ENTERING OR REMAINING IN A RESTRICTED BUILDING OR
             GROUNDS WITH A DEADLY OR DANGEROUS WEAPON 15
                                 18 U.S.C. § 1752(a)(1), (b)(1)(A)

        Count Three of the Indictment charges the defendant with entering or remaining in a

restricted building or grounds while using or carrying a deadly or dangerous weapon, which is a

violation of federal law.

                                              Elements

        In order to find the defendant guilty of this offense, you must find that the government

proved each of the following elements beyond a reasonable doubt:

            1. First, that the defendant entered or remained in a restricted building or grounds

                without lawful authority to do so.

            2. Second, that the defendant did so knowingly.

            3. Third, that the defendant used or carried a deadly or dangerous weapon during

                and in relation to the offense.

                                             Definitions

        The term “restricted building or grounds” means any posted, cordoned off, or otherwise

restricted area of a building or grounds where a person protected by the Secret Service is or will

be temporarily visiting. 16

        The term “person protected by the Secret Service” includes the Vice President and the

immediate family of the Vice President. 17




15
        18 U.S.C. §§ 1752, 3056; United States v. Jabr, 4 F.4th 97, 101 (D.C. Cir. 2021).
16
        18 U.S.C. § 1752(c)(1).
17
        18 U.S.C. §§ 1752(c)(2), 3056.
                                                  12
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 25 of 64




       The term “knowingly” has the same meaning described in the instructions for Count

Two.

       The term “deadly or dangerous weapon” has the same meaning described in the

instructions for Count One.




                                             13
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 26 of 64




                                   Proposed Instruction No. 24
     COUNT FOUR: DISORDERLY OR DISRUPTIVE CONDUCT IN A RESTRICTED
      BUILDING OR GROUNDS WITH A DEADLY OR DANGEROUS WEAPON 18
                                 18 U.S.C. § 1752(a)(2), (b)(1)(A)
        Count Four of the Indictment charges the defendant with disorderly or disruptive conduct

in a restricted building or grounds while using or carrying a deadly or dangerous weapon, which

is a violation of federal law.

                                              Elements

        In order to find the defendant guilty of this offense, you must find that the government

proved each of the following elements beyond a reasonable doubt:

            1. First, that the defendant engaged in disorderly or disruptive conduct in, or in

                proximity to, any restricted building or grounds.

            2. Second, that the defendant did so knowingly, and with the intent to impede or

                disrupt the orderly conduct of Government business or official functions.

            3. Third, that the defendant’s conduct occurred when, or so that, his conduct in fact

                impeded or disrupted the orderly conduct of Government business or official

                functions.

            4. Fourth, that the defendant used or carried a deadly or dangerous weapon during

                and in relation to the offense.

        “Disorderly conduct” occurs when a person is unreasonably loud and disruptive under the

circumstances, or interferes with another person by jostling against or unnecessarily crowding




18
        18 U.S.C. § 1752.

                                                  14
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 27 of 64




that person. “Disruptive conduct” is a disturbance that interrupts an event, activity, or the normal

course of a process. 19

        The terms “restricted building or grounds,” “knowingly,” and “deadly or dangerous

weapon” have the same meanings described in the instructions above.




19
        Redbook 6.643.
                                                15
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 28 of 64




                                     Proposed Instruction No. 25

       COUNT FIVE: ENGAGING IN PHYSICAL VIOLENCE IN A RESTRICTED
       BUILDING OR GROUNDS WITH A DEADLY OR DANGEROUS WEAPON
                                    18 U.S.C. § 1752(a)(4), (b)(1)(A)

        Count Five of the Indictment charges the defendant with knowingly engaging in any act

of physical violence against a person or property in a restricted building or grounds while using

or carrying a deadly or dangerous weapon, which is a violation of federal law.

                                                Elements

        In order to find the defendant guilty of this offense, you must find that the government

proved each of the following elements beyond a reasonable doubt:

               1. First, that the defendant engaged in an act of physical violence against a person or

                  property in, or in proximity to, a restricted building or grounds.

               2. Second, that the defendant did so knowingly.

               3. Third, that the defendant used or carried a deadly or dangerous weapon during

                  and in relation to the offense.

                                               Definitions

        The term “act of physical violence” means any act involving an assault or other infliction

of death or bodily harm on an individual, or damage to, or destruction of, real or personal

property. 20

        The terms “restricted building and grounds,” “knowingly,” and “deadly or dangerous

weapon” have the same meanings described in the instructions above.




20
        40 U.S.C. § 5104(a)(1) (modified).


                                                    16
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 29 of 64




                                   Proposed Instruction No. 26

     COUNT SIX: DISORDERLY CONDUCT IN A CAPITOL BUILDING OR GROUNDS

                                    40 U.S.C. § 5104(e)(2)(D)

        Count Six of the Indictment charges the defendant with violent entry and disorderly and

disruptive conduct in a Capitol Building or Grounds, which is a violation of federal law.

                                             Elements

        In order to find the defendant guilty of this offense, you must find that the government

proved each of the following elements beyond a reasonable doubt:

           1. First, that the defendant engaged in disorderly or disruptive conduct in any of the

               United States Capitol Buildings or Grounds;

           2. Second, that the defendant did so with the intent to impede, disrupt, or disturb the

               orderly conduct of a session of Congress or either House of Congress.

           3. Third, that the defendant acted willfully and knowingly.

                                            Definitions

        The term “United States Capitol Grounds” includes all squares, reservations, streets,

roadways, walks, and other areas as defined on a map entitled “Map showing areas comprising

United States Capitol Grounds,” dated June 25, 1946, approved by the Architect of the Capitol,

and recorded in the Office of the Surveyor of the District of Columba in book 127, page 8. 21

You are instructed that the West Terrace, including the Lower West Terrace, is part of the

“United States Capitol Grounds.”

        The term “disorderly or disruptive conduct” has the same meaning described in the

instructions for Count Four defining “disorderly conduct” and “disruptive conduct.”



21
        40 U.S.C. § 5102(a).
                                                17
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 30 of 64




       A person acts “willfully” if he acts with the intent to do something that the law forbids,

that is, to disobey or disregard the law. “Willfully” does not, however, require proof that the

defendant be aware of the specific law or rule that his conduct may be violating. 22

       The term “knowingly” has the same meaning described in the instructions for Count

Two.




22
       See United States v. Bryan, 524 U.S. 184, 190 (1998).
                                                18
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 31 of 64




                                  Proposed Instruction No. 27
     COUNT SEVEN: ENGAGING IN AN ACT OF PHYSICAL VIOLENCE IN THE
               CAPITOL GROUNDS OR CAPITOL BUILDINGS
                                    40 U.S.C. § 5104(e)(2)(F)

        Count Seven of the Indictment charges the defendant with engaging in an act of physical

violence in the United States Capitol Grounds or any of the Capitol Buildings, which is a

violation of federal law.

                                             Elements

        In order to find the defendant guilty of this offense, you must find that the government

proved each of the following elements beyond a reasonable doubt:

            1. First, that the defendant engaged in an act of physical violence in the United

                States Capitol Grounds or any of the Capitol Buildings.

            2. Second, that the defendant acted willfully and knowingly.

                                            Definitions

        The term “act of physical violence” means any act involving an assault or other infliction

or threat of infliction of death or bodily harm on an individual, or damage to, or destruction of,

real or personal property. 23

        The terms “United States Capitol Grounds,” “willfully,” and “knowingly,” have the same

meanings described in the instructions above.




23
        40 U.S.C. § 5104(a)(1).
                                                 19
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 32 of 64




                            Defendant’s Proposed Instruction No. 48

                                     FIRST AMENDMENT

       The First Amendment protects even profanity-laden speech directed at police officers.

Police officers reasonably may be expected to exercise a higher degree of restraint than the

average citizen and should be less likely to be provoked into misbehavior by such speech. While

Officer N.R., no less than anyone else, may resent having obscene words and gestures directed at

him, he may not exercise the awesome power at his disposal to punish defendant Thomas

Webster for conduct that is not merely lawful, but protected by the First Amendment. Payne v.

Pauley, 337 F.3d 767, 776 (7th Cir. 2003); Houston v. Hill, 482 U.S. 451, 461 (1987).

            Government’s Objection to Defendant’s Proposed Instruction No. 48

       The government objects to the Defendant’s Proposed Instruction No. 48 because it lacks

sufficient legal basis, is irrelevant, argumentative, and likely to mislead and/or confuse the jury.

The charges in this case do not implicate the First Amendment, see United States v. Caldwell,

No. 21-CR-28 (APM), 2021 WL 6062718, at *22 (D.D.C. Dec. 20, 2021) (concluding that

certain conduct on January 6 did not amount to conduct protected by the First Amendment), nor

do they require a determination about the reasonableness of victim Officer N.R.’s conduct or use

of force on January 6, 2021.

       The cases cited by the defendant in his proposed instruction are inapposite. Payne was an

appeal from a grant of summary judgment in a Section 1983 case. One of the issues in Payne

was whether an officer had probable cause to arrest the plaintiff for obstruction where the

plaintiff was alleged to have engaged in obscenity-laced argument with the officer. Payne, 337

F.3d at 776-77. In dicta, the court observed that police officers “reasonably may be expected to

exercise a higher degree of restraint than the average citizen and should be less likely to be



                                                 20
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 33 of 64




provoked into misbehavior by such speech.” Id. at 776 (citing City of Houston v. Hill, 482 U.S.

451, 462 (1987)). Ultimately, the court reversed because it found that the district court had

failed to view the facts in the light most favorable to the plaintiff.

        In City of Houston, the Supreme Court struck down as unconstitutionally overbroad a

municipal ordinance that made it unlawful to interrupt a police officer in the performance of his

duties. The Court held that the ordinance was not narrowly tailored to prohibit only disorderly

conduct or fighting words, and that it criminalized a substantial amount of constitutionally

protected speech. City of Houston, 482 U.S. at 465-67. In dicta, the Court observed that even

the fighting words exception might require a narrower application in cases involving words

addressed to police officers because “a properly trained officer may reasonably be expected to

exercise a higher degree of restraint than the average citizen, and thus be less likely to respond

belligerently to fighting words.” Id. at 462 (internal quotation marks and citation omitted).

        This case involves a physical assault of a police officer and does not implicate any of the

First Amendment issues raised in Payne and City of Houston.

        Insofar as the defendant is trying to argue that his profane words are insufficient to

constitute aggression or provocation for purposes of self-defense, such argument would best be

addressed through Redbook Instruction 9.504. Instruction 9.504 provides, in relevant part:

“Mere words without more by [name of defendant] . . . do not constitute [aggression] [or]

[provocation].” But the defendant is not entitled to any such instruction unless there is sufficient

evidence to support a self-defense claim. For the reasons set forth in the government’s Motion in

Limine to Preclude Claims of Self Defense, Necessity, Justification and Duress (ECF No. 60),

the defendant has not proffered sufficient evidence to entitle him to argue self-defense at trial,

much less to receive any self-defense jury instruction.



                                                  21
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 34 of 64




                            Defendant’s Proposed Instruction No. 49

                                         USE OF FORCE

       Defendant Thomas Webster alleges that while directing obscene words at Officer N.R. ,

the officer punched defendant in the face. In consideration whether or not Officer N.R. deprived

the defendant Thomas Webster of his constitutional right not to be subjected to unreasonable and

excessive force, you should determine whether the force used by Officer N.R. was necessary in

the first place or was greater than the force that would appear reasonably necessary in an

ordinary, reasonable, and prudent person.

       A law enforcement officer is justified in the use of any force which he reasonably

believes to be necessary to defend himself or another from bodily harm.

       Provocation by mere insulting or threatening words will not excuse a physical assault by

a law enforcement officer. Mere words, without more, do not constitution provocation or

aggression on the part of the person saying those words. No law enforcement officer is entitled

to use force against someone based on that person’s verbal statements alone.

       In determining whether the force used by Officer N.R. in this case was excessive or

unwarranted, you should consider such factors as the need for the application of force, the

relationship between the need and the amount of force that was used, the extent of injury

inflicted, and whether force was applied in a good faith effort to maintain or restore discipline or

maliciously and sadistically for the very purpose of causing defendant Thomas Webster harm.

United States v. Cobb, 905 F.2d 784 (4th Cir. 1980).

            Government’s Objection to Defendant’s Proposed Instruction No. 49

       The government objects to the Defendant’s Proposed Instruction No. 49 because it lacks

sufficient legal basis, is irrelevant, argumentative, and likely to mislead and/or confuse the jury.



                                                 22
          Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 35 of 64




Most basically, the defendant is not likely to be able to elicit sufficient evidence at trial to

support a self-defense instruction. See ECF No. 60. The reasonableness of the amount of force

that Officer N.R. allegedly used against Webster is not an element of any of the charged offenses

or anticipated affirmative defenses. See id. at 12. The issue for purposes of the defendant’s

anticipated self-defense claim is the reasonableness of his subjective belief that his use of force

was necessary, not whether Officer N.R. acted unreasonably or contrary to proper training and

procedures. Id. (citing United States v. Swint, 2012 WL 3962704, at *2 (D. Ariz. Sept. 11,

2012)).

          Cobb is inapposite. In Cobb, the defendant officers were charged with, inter alia,

depriving a citizen of his civil rights by willfully subjecting him to an excessive use of force, in

violation of 18 U.S.C. § 242. One of the elements under § 242 is whether a defendant used

unreasonable and excessive force. Cobb, 905 F.2d at 787.

          Officer N.R. has not been charged with violating 18 U.S.C. § 242 and is not the

defendant in this case. The reasonableness of the force that Officer N.R. is alleged to have used

is not an element of any of the charged offenses or anticipated affirmative defenses. In sum,

Defendant’s Proposed Instruction No. 49 confuses the issues, is likely to mislead the jury, and is

irrelevant as a matter of law.




                                                  23
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 36 of 64




                            Defendant’s Proposed Instruction No. 50

                          DEFENDANT’S THEORY OF THE CASE

       The defendant requests that the Court read the following paragraph if the Court finds that

there is sufficient evidence to support a jury instruction about the defendant’s theory of the case:

       Defendant emerged from the crowd angered by the injuries caused to protestors by law

enforcement. Defendant directed obscenities at Officer N.R. and his fellow officers. Rather than

deescalating the situation, Officer N.R. raised his hand and gestured towards defendant inviting

him to engage in a fight. Defendant responded to Officer N.R.’s provocation by grabbing the top

portion of the police barrier and directed additional profanities at the officer.

       In response to defendant, Thomas Webster’s insulting words, Officer N.R. reached

beyond the police barrier with his left arm and punched defendant in his face. Reasonably

believing that he was in danger of imminent serious bodily harm and being unable to retreat due

to the large crowd, defendant used that amount of force he reasonably believed necessary to

protect himself by tackling Officer N.R. to the ground.

            Government’s Objection to Defendant’s Proposed Instruction No. 50

       The defendant misunderstands the purpose of Redbook Instruction 9.100. Instruction

9.100 is intended to serve as a note to explain to the Court and the parties when a defendant is

entitled to a theory-of-defense instruction. It is not an invitation for the Court to deliver a closing

argument on the defendant’s behalf.

       Here, the defendant’s theory of the case is that he was acting in self-defense. Assuming

that the defendant is allowed to argue self-defense at trial, 24 and assuming that there is sufficient



24
       For the reasons set forth in the government’s Motion in Limine to Preclude Claims of Self
Defense, Necessity, Justification and Duress (ECF No. 60), the defendant should not be allowed
to argue self-defense at trial and is not entitled to any self-defense instruction. The government
                                                  24
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 37 of 64




evidence for a reasonable jury to find in the defendant’s favor, then the Court should instruct the

jury on the legal elements of self-defense, as set forth in Redbook Instructions 9.500, 9.501,

9.502 and 9.504. The narrative provided by the defendant above is argumentative, prejudicial,

and inappropriate for a theory-of-defense instruction.




joins in proposed jury instructions 44 through 47 only to the extent that the Court determines that
the defendant will be allowed to argue self-defense at trial, and then only if the evidence at the
conclusion of trial supports such an instruction.
                                                25
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 38 of 64




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                   :
                                            :
                v.                          :
                                            :       Case No.: 21-cr-00208 (APM)
THOMAS WEBSTER,                             :
                                            :
       Defendant.                           :
                                            :

                     GOVERNMENT’S LIST OF EXPECTED WITNESSES

       The Government hereby provides a list of witnesses that, as of this date, the government

may call during its case-in-chief. The government may determine that some of these witnesses

are not necessary or it may determine that additional witnesses are necessary. If the government

determines that additional witnesses may be necessary, it will promptly inform the Court and the

defense. The potential witnesses are:


           Name                          Title/Agency                      Location
 Carneysha Mendoza               United States Capitol Police
                                 Captain                          D.C. Metropolitan Area
 Mark Gazelle                    United States Capitol Police
                                 Officer                          D.C. Metropolitan Area
 Joanna Burger                   United States Capitol Police
                                 Officer                          D.C. Metropolitan Area
 Paul Wade                       Assistant to the Special Agent
                                 in Charge, United States
                                 Secret Service                   D.C. Metropolitan Area
 Daniel Schwager                 Counsel to the Secretary of
                                 the Senate, United States
                                 Senate                           D.C. Metropolitan Area
 Patricia Norden                 Special Agent, Federal
                                 Bureau of Investigation          Hudson Valley, New York
 Mike Callanan                   Special Agent, Federal
                                 Bureau of Investigation          Hudson Valley, New York


                                                1
       Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 39 of 64


           Name                    Title/Agency                   Location
Virginia Donnelly         Special Agent, Federal
                          Bureau of Investigation        Hudson Valley, New York
Riley Palmertree          Special Agent, Federal
                          Bureau of Investigation        D.C. Metropolitan Area
N.R.                      Officer, Metropolitan Police
                          Department                     D.C. Metropolitan Area
Ed Tippett                Safeway, District Manager      D.C. Metropolitan Area
Leif Hickling             Supervisory IT Specialist,
                          U.S. Attorney’s Office         D.C. Metropolitan Area




                                        2
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 40 of 64
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 41 of 64
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 42 of 64
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 43 of 64




          2:01 p.m.) (shows motorcade
          leaving plaza)


203       USCP surveillance video of
          Senate members staircase (at
          2:25p.m.)


204       N.R. BWC footage 1.6.21
          (14:28:18 to 14:29:55)


204.1     Still shot from N.R. BWC
          footage (14:28:24)


204.2     Still shot from N.R. BWC
          footage (14:28:36)


204.3     Still shot from N.R. BWC
          footage (14:28:37_1)


204.4     Still shot from N.R. BWC
          footage (14:28:37_2)


204.5     Still shot from N.R. BWC
          footage (14:28:37_3)


204.6     Still shot from N.R. BWC
          footage (14:28:38)


204.7     Still shot from N.R. BWC
          footage (14:28:39)


204.8     Still shot from N.R. BWC
          footage (14:28:41)


204.9     Still shot from N.R. BWC
          footage (14:28:52_1)




                                         3
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 44 of 64




204.10     Still shot from N.R. BWC
           footage (14:28:52_2)


204.11     Still shot from N.R. BWC
           footage (14:29:02)


204.12     Transcript of N.R. BWC
           footage 1.6.21 (14:28:18 to
           14:29:55)


 205       USCP surveillance video
           0944 (2:28:17 to 2:29:55)


 206       Taylor video 1.6.21


206.1      Still shot from Taylor video
           1.6.21


 207       Patriots at the Capitol 1-6-21


 208       Send More Patriots video


208.1      Transcript of Send More
           Patriots video


 209       Webster with second officer
           after breaching video


 210       Webster at Lower West
           Tunnel video


 211       N.R. BWC footage 1.6.21
           Slow Motion (14:28:18 to
           14:29:14)




                                            4
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 45 of 64
      Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 46 of 64




302     11/6/20 Text Messages to
        “Brian and Stacey” and
        “Michelle”


303     12/3/20 Text Message to
        “Brian and Stacey” (Guide to
        Your Jan 6th Trip)


304     1/6/21 Text Conversation
        with “Frank S Home”


305     Photo of MRE & Metadata


306     Photo of Backpack &
        Metadata


307     Photo of Marine Flag at
        Washington Monument


308     Photo at base of Capitol


309     Photo near Lower West
        Tunnel


310     “stop the steal rally” search
        history (12/4/20)


311     Bulletproof vests search
        history (12/10/20)


312     Guide to Jan 6 Trip search
        history (12/30/20)


313     Stop the Steal search history
        (12/29/20)




                                        6
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 47 of 64
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 48 of 64
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 49 of 64
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 50 of 64




601.4     Photo of sign itself


602       Diagram of Capitol


603       3D Model of Capitol


604       Photo of N.R. injuries


605       Photo of N.R. injuries


606       Photo of N.R. injuries


607       Photo of N.R. injuries


608       Photo of N.R. injuries


609       Photo of N.R. injuries


610       Photo of N.R. injuries


611       Twitter Pic 1 (Assault)


612       Twitter Pic 2 (Assault)


613       Photo of plate carrier “Second
          Chance,” Blue (3/24/22)


614       Photo of interior nametag of
          plate carrier “Second
          Chance,” Blue (3/24/22)




                                           10
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 51 of 64
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 52 of 64
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 53 of 64
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 54 of 64
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 55 of 64




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :       Crim. No. 21-cr-208 (APM)
                                                :
                v.                              :
                                                :
 THOMAS WEBSTER,                                :
                                                :
                        Defendant.              :

                                            EXHIBIT 701

                                           STIPULATION

        The United States and Defendant Thomas Webster agree and stipulate to the following:

        The United States Capitol Police (USCP) operate and maintain closed-circuit video

 monitoring and recording equipment that captures locations inside and outside of the U.S. Capitol

 building and on the Capitol grounds. The video equipment timestamps each recording with the

 date and time at which the footage is captured. The USCP-controlled video equipment was in

 good working order on January 6, 2021, and video footage recovered from the cameras and

 equipment with the timestamp of January 6, 2021 is footage from January 6, 2021. The events

 depicted in the video footage are a fair and accurate depiction of the events at the U.S. Capitol on

 January 6, 2021, the timestamps on the recordings are accurate, and the video footage was not

 altered or edited in any way. The video footage is authentic in that it is what it purports to be.



FOR THE DEFENDANT                                       FOR THE UNITED STATES




James E. Monroe                                         Katherine Nielsen
Counsel for Thomas Webster                              Hava Mirell
                                                        Brian P. Kelly
                                                        Assistant United States Attorneys


                                                    1
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 56 of 64




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                     :       Crim. No. 21-cr-208 (APM)
                                              :
                v.                            :
                                              :
 THOMAS WEBSTER,                              :
                                              :
                       Defendant.             :

                                          EXHIBIT 705

                                         STIPULATION

       The United States and Defendant Thomas Webster agree and stipulate to the following:

       On January 6, 2021, officers from the United States Capitol Police (USCP) on the U.S.

Capitol Grounds and in the U.S. Capitol building were engaged in their official duties as officers or

employees of the United States or of any agency in any branch of the United States Government, as

those terms are used in Title 18, United States Code, Section 1114.

       On January 6, 2021, officers from the Washington, D.C., Metropolitan Police Department

(MPD) on the U.S. Capitol Grounds and in the U.S. Capitol building were assisting officers from

the USCP who were engaged in their official duties as officers or employee of the United States or

of any agency in any branch of the United States Government, as those terms are used in Title 18,

United States Code, Section 1114.


FOR THE DEFENDANT                                     FOR THE UNITED STATES




James E. Monroe                                       Katherine Nielsen
Counsel for Thomas Webster                            Hava Mirell
                                                      Brian P. Kelly
                                                      Assistant United States Attorneys




                                                  1
            Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 57 of 64




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                    :       Crim. No. 21-cr-208 (APM)
                                             :
                 v.                          :
                                             :
 THOMAS WEBSTER,                             :
                                             :
                        Defendant.           :

                                          EXHIBIT 706

                                         STIPULATION

       The United States and Defendant Thomas Webster agree and stipulate to the following:

       1.       The West Terrace, including the Lower West Terrace, is part of the “United States

Capitol Grounds” for purposes of 40 U.S.C. § 5104.


FOR THE DEFENDANT                                    FOR THE UNITED STATES




James E. Monroe                                      Katherine Nielsen
Counsel for Thomas Webster                           Hava Mirell
                                                     Brian P. Kelly
                                                     Assistant United States Attorneys




                                                 1
Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 58 of 64
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 59 of 64



stipulation is an authentic, true, and correct copy of a printout of the above-described information for

New York State license plate number HVU 2139.



FOR THE DEFENDANT                                      FOR THE UNITED STATES




James E. Monroe                                        Katherine Nielsen
Counsel for Thomas Webster                             Hava Mirell
                                                       Brian P. Kelly
                                                       Assistant United States Attorneys




                                                   2
          Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 60 of 64




ID: d6c70c4e-bce6-4ad0-9e14-e522f30e8df2                      timothy.writt   2/17/2021 8:31:32 AM UTC-05:00


               License Plate Number:                      HVU273




                                                                      Read Info
                                              Plate          HVU273

                                              Date/Time      1/5/2021 4:32:30 AM UTC-05:00

                                                             (38.909822, -76.935704)
                                              GPS
                                                             Error Radius: 0.00m

                                              Speed

               Kenilworth Avenue Northeast,   Reader         6D 295 s\b Eastern Av NE
Nearest
               Washington, , District of
Address
               Columbia,                      Reader Notes
Nearest                                       User
Cross Street
                                              Camera         Center

                                              Domain         Fixed Sites

                                              Make

                                              Model

                                              Color

                                              Color 2

                                              Type

                                              Tax Class

                                              MMC Plate      Plate not in MMC List
        Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 61 of 64




ID: d6c70c4e-bce6-4ad0-9e14-e522f30e8df2       timothy.writt   2/17/2021 8:31:32 AM UTC-05:00


              License Plate Number:        HVU273
         Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 62 of 64




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                       :       Crim. No. 21-cr-208 (APM)
                                                :
                v.                              :
                                                :
 THOMAS WEBSTER,                                :
                                                :
                        Defendant.              :

                                            EXHIBIT 708

                                          STIPULATION

        The United States and Defendant Thomas Webster agree and stipulate to the following:

        The events depicted in the video footage for the following Government Exhibits are a fair

 and accurate depiction of the events at the U.S. Capitol on January 6, 2021 and the video footage

 was not altered or edited in any way. The video footage is authentic in that it is what it purports to

 be.

            1. Exhibit 206

            2. Exhibit 207

            3. Exhibit 208

            4. Exhibit 209 [from 16:50 to 22:40]

            5. Exhibit 210



FOR THE DEFENDANT                                       FOR THE UNITED STATES




James E. Monroe                                         Katherine Nielsen
Counsel for Thomas Webster                              Hava Mirell
                                                        Brian P. Kelly
                                                        Assistant United States Attorneys


                                                    1
       Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 63 of 64




                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :
             v.                         :       Case No. 21-cr-208 (APM)
                                        :
THOMAS WEBSTER,                         :
                                        :
                    Defendant.          :


                                  VERDICT FORM
Count One: Assaulting, Resisting, or Impeding Certain Officers Using a Deadly or
           Dangerous Weapon

      _______________                   ________________
      Guilty                             Not Guilty

Count Two: Obstructing Officers During a Civil Disorder

      ________________                  ________________
      Guilty                             Not Guilty

Count Three: Entering or Remaining in a Restricted Building or Grounds with a Deadly or
             Dangerous Weapon

      ________________                  ________________
      Guilty                             Not Guilty

Count Four: Disorderly or Disruptive Conduct in a Restricted Building or Grounds with a
            Deadly or Dangerous Weapon

      ________________                  ________________
      Guilty                             Not Guilty

Count Five: Engaging in Physical Violence in a Restricted Building or Grounds with a
            Deadly or Dangerous Weapon

      ________________                   ________________
      Guilty                             Not Guilty




                                            1
       Case 1:21-cr-00208-APM Document 74 Filed 04/08/22 Page 64 of 64




Count Six:   Disorderly Conduct in a Capitol Building or Grounds

      ________________                     ________________
      Guilty                               Not Guilty

Count Seven: Engaging in an Act of Physical Violence in the Capitol Grounds or Capitol
             Buildings

      ____________                         ________________
      Guilty                               Not Guilty




Dated this _______ day of ________, 2022


                                                 _________________________
                                                 FOREPERSON




                                             2
